                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION
                              Civil Action No.: 5:17-cv-00534-H

                                                  )
EPIC GAMES, INC.,                                 )
                                                  )
               Plaintiffs,                        )
                                                  )
v.                                                )
                                                                  CLERK'S DEFAULT
                                                  )
C.R.,                                             )
                                                  )
               Defendant.                         )
                                                  )
                                                  )
~~~~~~~~~~-)


        Pursuant to Fed. R. Civ. P. 55(a), Defendant C.R. ("Defendant" or "C.R.") is in default

for failing to file an answer to Plaintiff's Complaint within the time set out under Fed. R. Civ. P.

12(a)(4)(A) and in the Court's July 12, 2018 Order denying Defendant's letter construed as a

motion to dismiss, which was served on Defendant and-Defendant's mother, Christine Broom, by

the Clerk's office on July 12, 2018.

        Accordingly, default is entered against Defendant.


        This 10th day of September, 2018.




                                                      By:k-~~
                                                         Peter A. Moore                /
                                                         Clerk of Court




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